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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

AARON E. MINOR,
Plaintiff,
VS. Civil Action No. 17-1638
DAVID J. SHULKIN, Secretary of the )
Department of Veterans Affairs,
Defendant.
MEMORANDUM ORDER

 

Presently before the Court is Plaintiff's Motion to File Forensic Economic Loss Expert
Report by CPA Eric Smith with Plaintiffs Pre-Trial Statement (“Motion”). For the reasons
explained below, Plaintiff's Motion will be granted in part.

I. Relevant Procedural History

This lawsuit was commenced in December 2017. In the parties’ Rule 26(f) Report filed on
March 13, 2018, they agreed that Plaintiff shall produce any expert reports no later than October15,
2018, and that expert discovery shall be completed by January 19,2019. The then-presiding judge,
Magistrate Judge Mitchell, held a case management conference at which time a discovery deadline
of September 17, 2018, was established; however, pursuant to Judge Mitchell’s practices, a case
management order which set any other deadlines was not entered. For good cause, subsequent
extensions of the discovery deadline were granted by Judge Mitchell.

This case was reassigned to the undersigned in June 2019 upon Judge Mitchell’s
retirement. At the parties’ request, the Court granted one final extension of the discovery deadline
until September 30, 2019. However, no new deadlines were established for expert reports and
discovery at that time. At a post-discovery status conference, deadlines were set for dispositive

motions and Defendant filed a motion for summary judgment on November 4, 2019. After full
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briefing, Defendant’s motion for summary judgment was granted in part and denied in part in a
Memorandum Opinion issued on June 17, 2020.

After the parties unsuccessfully explored resolution, the Court held a status conference on
September 2, 2020, during which the Court explained that due to issues related to the pandemic,
conducting a jury trial in this case would be delayed for an indefinite period of time. At that time,
Plaintiff reiterated his request for a jury trial and the Court indicated that a pretrial order would be
issued. Later that day, having raised the issue of an expert during the conference, Plaintiff filed
the instant Motion. Approximately three weeks later, both parties waived their right to a jury trial.
A trial date of April 5, 2021 has been agreed to by the parties.

As part of the discovery process, Defendant directed interrogatories to Plaintiff on May 18,
2018 in which he requested, among other things, the identity of Plaintiff's expert witnesses and
other information about potential experts, including his or her qualifications, the substance of any
opinions to be offered and other disclosures required by the Federal Rules of Civil Procedure. In
his request for production, Defendant also sought the production of the curriculum vitae of any
expert and a list of other cases in which the expert offered expert testimony. Plaintiffs response
‘was not provided until February 11, 2019, after Plaintiffhad filed his Second Amended Complaint.
In his response to Defendant’s discovery, Plaintiff identified two experts, Jody Schultz and Eric
Smith, but did not produce an expert report from either. On June 13, 2019, he produced a report
from Ms. Schultz, but after her deposition was noticed by Defendant, Plaintiff withdrew Ms.
Schultz as an expert. At no time has Plaintiff produced an expert report authored by Mr. Smith.

If. Discussion
In his Motion, Plaintiff argues that it was not feasible to produce an expert report by the

prior deadline to which the parties agreed in their Rule 26(f) Report. The Court agrees that given
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the procedural history of this case and the multiple extensions of discovery, the original deadline
for expert disclosures suggested by the parties was no longer feasible. Moreover, no new deadline
was ever established.

Plaintiff proposes that his expert report will be filed with his pretrial statement, which is
due on November 30, 2020, and that Defendant will not sustain any prejudice because they will
have “ample time” to produce an expert report when they file their pretrial statement one month
later. Plaintiff also offers that he will not object to his expert’s deposition being taken prior to
trial.

Defendant objects to Plaintiff's Motion on multiple grounds. First, they note that Rule
26(a)(2)(A) requires a party to disclose the identity of an expert as well as a written report, but
Plaintiff has failed to do so. Further, Plaintiff failed to supply the additional information regarding
Mr. Smith that was requested in Defendant’s discovery, and all discovery was required to be
completed by September 30, 2019. Defendant further disputes Plaintiffs assertion that it would
not have been feasible to provide his report before now, a full year after discovery closed. As
such, Defendant contends, to allow Plaintiff to submit an expert report at this late juncture would
be prejudicial and would disrupt an orderly and efficient trial.

There is no question that Plaintiff did not provide expert disclosures by the deadline
suggested in the parties’ Rule 26(f) Report. It also appears that Plaintiff failed to supply the
information requested by Defendant during discovery or produce a written expert report authored
by Mr. Smith.

At the same time, at no time has the Court entered a case management order which set a

deadline for expert disclosures, and the original deadlines for fact discovery, as well as those
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suggested for expert disclosures and expert discovery, have long since passed. It also appears that
Defendant did not move to compel more complete responses to its discovery as it related to experts.

Thus, while it is clear that the Court ordered that no further discovery extensions would be
granted, there was no court-ordered deadline for expert disclosures. While Defendant argues that
he would be prejudiced if Plaintiff is permitted to file an expert report, it appears that Defendant
is not unduly prejudiced and any potential for harm can be eliminated by providing Defendant with
an opportunity to depose Plaintiffs expert. Then, if Defendant chooses to do so, he may file a
responsive expert report.

Fed. R. Civ. P. 26(a)(2) provides that expert disclosures must be provided at the time that
the court orders. Absent a court order, disclosures must be made at least ninety (90) days before
the date set for trial. Here, no court order was ever entered that established a deadline for expert
disclosures and trial is six months away. At the same time, Plaintiff’s responses to Defendant’s
expert discovery appears to have been deficient. After balancing the equities, the Court concludes
that Plaintiff may submit an expert report from Mr. Smith, but Defendant must be provided
sufficient time to respond and if desired, take Mr. Smith’s deposition. Because pretrial deadlines
have already been established, however, this must be accomplished in a manner consist with these
deadlines and the history of this case.

Therefore, this 2nd day of October, 2020, it is hereby ORDERED that:

1. Plaintiff shall provide Eric Smith’s expert report, as well full and complete expert
disclosures that comply with Rule 26(a)(2), no later October 30, 2020.

2. Defendant may take the deposition of Mr. Smith and if Defendant chooses to do 50,
shall complete the deposition by November 30, 2020. Plaintiff shall cooperate in

making Mr. Smith available for his deposition based upon this schedule.
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3. Defendant shall provide any expert disclosures to Plaintiff by December 30, 2020.

BY THE RT:

 

PATRICIA L. DODGE —
United States Magistrate Judg
